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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION




RYAN, LLC,

            Plaintiff,

CHAMBER OF COMMERCE OF                     NO. 3:24-CV-986-E
THE UNITED STATES OF
AMERICA, et al.,

              Plaintiff-Intervenors,

      v.

FEDERAL TRADE
COMMISSION,

            Defendant



        PROPOSED BRIEF OF AMICI CURIAE PROFESSORS
IN SUPPORT OF DEFENDANT THE FEDERAL TRADE COMMISSION’S
OPPOSITION TO PLAINTIFF’S AND INTERVENORS’ MOTIONS FOR A
                 PRELIMINARY INJUNCTION


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                              INTEREST OF AMICI CURIAE

        Amici are professors who teach and write about economics, intellectual

property, antitrust, consumer, employment, and labor law, among other subjects.1

They have studied and written extensively about noncompete agreements and their

harmful effects on innovation, entrepreneurship, competition, and employee

mobility and wages, and several of them submitted comments to the Federal Trade

Commission (“the Commission”) in support of the Rule during the rulemaking

process.

        Amici have no personal interest in this case. Amici’s sole interest is in ensuring

the law supports policies that maximize labor mobility, competition, and innovation

and ensure fair and equal terms of employment for all workers. Noncompete

agreements (“noncompetes”) have long undermined these policy goals.

        A full list of amici can be found in the Appendix.2

               INTRODUCTION AND SUMMARY OF ARGUMENT

        Our national economy depends on an increasingly national labor force. While

worker mobility has always been important, today more and more workers are


1
 Amici make the following disclosure similar to the one required for appellate amicus briefs by Federal
Rule of Appellate Procedure 29(a)(4)(E): No counsel for a party authored this brief in whole or in part,
and no party or counsel for a party made a monetary contribution intended to fund its preparation or
submission. No person other than the amici or their counsel made a monetary contribution to the
preparation or submission of this brief.
2
 Amici thank Juelsgaard Intellectual Property and Innovation Clinic Certified Law Students Ruihan (Ray)
Guo, Neel Guha, and Ashton Woods for their contributions to the Motion for Leave and this amici brief.
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employed by companies with a national presence. In a world of increasing

opportunities, employees—and the economy—need the assurance of guaranteed

labor mobility.

      Despite the importance of employee mobility, the use of noncompetes is

pervasive in the United States. The U.S. Treasury Department has estimated that 30

million American workers are subject to a noncompete, U.S. Dep’t of the Treasury,

Non-Compete Contracts: Economic Effects and Policy Implications 3 (2016) (“Non-

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executives, Mark J. Germaise, Ties that Truly Bind: Noncompetition Agreements,

Executive Compensation, and Firm Investment, 27 J. L. Econ. & Org. 376, 396

(2011). These direct restraints on mobility are bad not only for workers, but also for

our economy and society as a whole. The economy performs better when workers

can easily move between jobs. Increased mobility makes it easier for employees to

find employers that most value their skills, and for employers to find employees who

are a good fit in talent, skill, and experience. Noncompetes restrain mobility, stifling

entrepreneurship, competition, and innovation. They also artificially depress wages

and perpetuate unequal access to employment opportunity.


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      The ban on noncompetes imposed by the Commission’s Non-Compete Clause

Rule, 89 Fed. Reg. 38342 (May 7, 2024), (“the Rule”) will increase

entrepreneurship, competition, and, ultimately, innovation by increasing workforce

mobility and promoting efficiency in the marketplace. It will increase employee

wages to market-based levels and lead to greater equality in employment. The Rule

and its powerful benefits are the product of a painstakingly thorough and

comprehensive process of investigation, research, and rulemaking by the

Commission. The data, evidence, and reasoning supporting the Rule are substantial

and fully justify its enactment and the ban. Because of the important benefits created

by the ban, the Rule is squarely in the public interest and that preliminary injunction

factor tips strongly in the Commission’s favor. See Nken v. Holder, 556 U.S. 418,

435 (2009) (finding balance-of-equities and public interest factors “merge when the

Government is the opposing party”).

                                   ARGUMENT


I.    THE COMMISSION’S ADOPTION OF THE RULE IS WELL-
      SUPPORTED BY SUBSTANTIAL EVIDENCE.

      After conducting an exhaustive rulemaking process and carefully reviewing

26,000 public comments, the Commission has adopted the Rule, which provides that

entering into noncompetes with workers is an unfair method of competition that




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violates section 5 of the Federal Trade Commission Act. Non-Compete Clause Rule,

89 Fed. Reg. at 38342.

      The Rule is well supported. The Commission’s comprehensive review of

empirical literature, the full comment record, and its expertise in identifying harmful

practices, see id. at 38345-46, provides substantial evidence of the unfairness and

anti-competitive nature of noncompetes. Amici’s extensive research and expertise

involving noncompetes strongly supports these conclusions.

II.   THE RULE WILL SIGNIFICANTLY INCREASE
      ENTREPRENEURSHIP, COMPETITION, INNOVATION,
      WAGES, AND EQUALITY.

      The Rule’s ban on noncompetes will produce social and economic benefits

for employees, employers, and the public at large. Specifically, the Rule will

enhance entrepreneurship, competition, innovation, fair wages, and worker equality.

      A.     Expanded Entrepreneurship.

      Robust entrepreneurship incentives and opportunities require that workers

with new ideas be willing to leave their current employers to launch new businesses

or join emerging ones. Because noncompetes stop employees from leaving, they

prevent the creation of new businesses. Even when workers do challenge

noncompete agreements, they are more likely to join other large incumbent firms,

which can help them litigate the terms of their agreements, rather than new startups.

See Orly Lobel, Non-Competes, Human Capital Policy & Regional Competition, 45


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J. of Corp. L. 931, 938 (2020); see also Hyo Kang & Lee Fleming, Non-competes,

Business Dynamism, and Concentration: Evidence from a Florida Case Study, 29 J.

Econ. & Mgmt. Strategy 663 (2020).

        The connection between noncompetes and entrepreneurship is illustrated by

comparing California and Washington. Noncompetes are enforceable in

Washington, and unenforceable in California; these variations in state noncompete

law have likely contributed to the fact that alumni of Google (based in noncompete-

banning California) have been far more prolific than alumni of Microsoft and

Amazon (based in noncompete-enforcing Washington) in starting their own

companies and raising capital.3

        B.      Greater Competition between Firms.

        The Rule’s ban on noncompetes will enhance competition. Noncompetes

favor large incumbent firms with the resources to enforce agreements. By forcing

employees to sign noncompetes, an incumbent can prevent rival startups from hiring

employees. Moreover, by stifling entrepreneurship and new business formation,

noncompetes can prevent competitors from ever forming in the first place.


3
  Over twenty-four years of incorporation, Google alumni have founded 2,801 startups (114 per year)
raising over $108.09 billion in capital ($4.41 billion per year), Startups by Google Alumni, Tracxn (Jan.
11, 2023), https://perma.cc/M5K7-ZB3C. Over forty-eight years of incorporation, Microsoft alumni have
founded 3,579 startups (75 per year) raising over $67.66 billion in capital ($1.41 billion per year),
Startups by Microsoft Alumni, Tracxn (Jan. 11, 2023), https://perma.cc/KP4A-ZPFR. Over twenty-nine
years of incorporation, Amazon alumni have founded 1,405 startups (49 per year) raising over $24.23
billion in capital ($0.85 billion per year), Startups by Amazon Alumni, Tracxn (Jan. 11, 2023),
https://perma.cc/7C9H-2JY5.


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      Limiting noncompetes will give companies greater ability to hire experienced

talent by freeing some workers who would otherwise have been blocked by a

noncompete. This freedom will especially benefit smaller and emerging companies

that require new talent but that lack the resources to defend against a noncompete

lawsuit brought by a large, more established rival. Rachel Arnow-Richman,

Jonathan F. Harris, & Orly Lobel, Comment Letter on Proposed Non-Compete

Clause Rule at 9 (Apr. 18, 2023) (“Arnow-Richman Comment”).

      The Rule is especially important for competition because research shows that

alumni of incumbent firms are best positioned to start innovative competitors that

disrupt stale industries, make technological progress, and ultimately benefit

consumers. Orly Lobel, The Spinoff Advantage: Human Capital Law and

Entrepreneurship, in the Cambridge Handbook of L. and Entrepreneurship in the

United States 257-67 (D. Gordon Smith et. al. eds., 2022) (“The Spinoff

Advantage”). Other research demonstrates that markets become more concentrated

when noncompetes are adopted and enforced. Kang & Fleming, supra, at 2.

      C.    Increased Innovation.

      The Rule’s ban on noncompetes will significantly enhance innovation.

Noncompetes lower job mobility, which diminishes the rates of knowledge flow.

The Spinoff Advantage, supra, at 262. The U.S. Treasury Department’s 2016 report

on noncompetes found that increased mobility “raise[s] labor productivity by


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achieving a better matching of workers and firms, and may facilitate the

development of industrial clusters like Silicon Valley.” Non-Compete Contracts,

supra, at 4.

      A wealth of empirical, experimental, and theoretical research enforces this

view. Studies find that increased noncompete enforceability decreases drivers of

innovation, like employee motivation, new business formation, and knowledge

sharing. On Amir & Orly Lobel, Driving Performance: A Growth Theory of

Noncompete Law, 16 Stan. Tech. L. Rev. 833 (2013); Toby Stuart & Olav Sorenson,

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Admin. Sci. Q. 175, 193 (2003); Sharon Belenzon & Mark Schankerman, Spreading

the Word: Geography, Policy, and Knowledge Spillovers, 95 Rev. Econ. & Stat. 884,

886 (2013). Noncompetes also decrease the products of innovation, like patenting

activity and patent value. Sampsa Samila & Olav Sorenson, Non-compete

Covenants: Incentives to Innovate or Impediments to Growth, 57 Mgmt. Sci. 425,

432 (2011); Zhaozhao He, Motivating Inventors: Non-competes, Innovation Value,

and Efficiency at 21 (2021), https://perma.cc/MM2J-QVTH.

      The Rule’s ban on noncompetes thus enhances innovation by increasing the

productivity of employees within their own firms. Noncompetes prevent employees

from taking ownership of their own labor and skills, reducing employee incentives

to invest in professional self-development. On Amir & Orly Lobel, How


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Noncompetes     Stifle   Performance,     Harv.   Bus.    Rev.   (Jan.-Feb.   2014),

https://perma.cc/3R84-K9HX. Preventing unhappy and unproductive employees

from leaving to pursue other opportunities keeps those employees within firms,

where their discontent hurts firm performance. James E. Rauch, Dynastic

Entrepreneurship, Entry, and Non-Compete Enforcement, 86 European Econ. Rev.

188 (2016).

      D.      Market-Based Wages.

      The Rule’s ban on noncompetes will benefit employees by increasing wages

consistent with the market. Noncompetes prevent employees from relying on

competing offers from other firms as leverage in pay negotiations—employers know

workers cannot accept a competing offer without either breaching the noncompete

and taking on substantial legal and economic risks or moving to a different region

altogether. Banning noncompetes increases bargaining power by removing these

risks, increasing the ability of employees to receive and consider accepting

competing offers, thus incentivizing both their current and prospective employers to

offer higher pay to retain them. Their improved bargaining position helps employees

negotiate more-competitive, higher pay.

      The Rule’s ban on noncompetes will also encourage employers to adopt

positive incentive structures that reward employees for staying. For instance,

employers in California place greater reliance on positive retention mechanisms like


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performance-based pay, bonuses, and stock options compared to employers in states

that enforce noncompetes. Non-Competes, Human Capital Policy & Regional

Competition, supra, at 938. In states without noncompetes, the proliferation of these

mechanisms has helped improve employee wages. Accordingly, a widespread shift

to these sort of positive incentive structures that will result from the Rule’s ban on

noncompetes will likely result in market-based higher wages for employees.

      Finally, employee mobility improves worker knowledge and will lead to more

talented employees because of knowledge spillovers and denser collaboration

networks. Employees will be free to move between employers in the same field,

continually crossing paths with new people and new ideas. And by engaging with

others more frequently, employees are exposed to richer knowledge, increasing their

own knowledge base and skills. As employees get more skilled and demonstrate

greater productivity, competitive wages will naturally rise to reflect their increasing

human capital and value-add. And even where an employee’s skillset remains

constant, the Rule’s noncompete ban will lead to more productive use of those skills

by increasing employee motivation, retention and improvement of skills, and the

quality of the match between the employee and their employer.

      E.     Greater Worker Equality.

      The Rule will enhance worker equality. Studies have shown that noncompetes

affect women more potently and more frequently than men. Noncompetes often


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force an employee to choose between staying with their current employer, leaving

the workforce until the noncompete expires, or, in some cases, moving and working

for a competitor in a different regional area. Studies show, however, that women are

more likely than men to have geographic constraints based on their family and

spousal obligations, which means many women are left with a difficult choice: either

stay (unhappily) with the current employer or leave the workforce for a period of

time. See Non-Competes, Human Capital Policy, & Regional Competition, supra, at

941; Orly Lobel, Knowledge Pays: Reversing Information Flows & the Future of

Pay Equity, 120 Colum. L. Rev. 547, 557, 587 (2020). Staying can lead to lower

motivation and productivity, whereas leaving can lead to lost skills and make it

harder to rejoin the workforce. Both unfairly decrease future career prospects.

      The Rule’s ban on noncompetes will help to reduce current wage gaps. Data

show that limiting the enforceability of noncompetes “would not only likely raise

earnings on average, but also help close racial and gender wage gaps.” Matthew S.

Johnson, Kurt Lavetti, & Michael Lipsitz, The Labor Market Effects of Legal

Restrictions on Worker Mobility 41 (Dec. 2023) (Nat’l Bureau of Econ. Rsch.,

Working Paper No. 31929), https://perma.cc/6EMU-3JSB. Employees are not able

to discover their true value without external offers. Women and people of color will

be able to rely on competing offers to bolster their own wages, leading to a more

accurate reflection of their true value-add. The upward pressure of a single non-


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discriminatory competing offer—an offer that can only be realistically entertained

absent noncompetes—is a powerful mechanism to help erode persistent wage gaps.

      Noncompetes also disproportionately affect women’s opportunities, in part

because studies show that women are more likely than men to abide by and less

likely to challenge noncompetes, even when they have legitimate legal grounds to

do so. This particularly undermines female entrepreneurship, preventing women

from founding new companies. As a result, the enforcement of noncompetes

contributes to the substantial gaps between women and men both in wages and rates

of entrepreneurship. By banning noncompetes, the Rule will both encourage the

formation of more female-founded businesses and enable women to use competing

job offers to negotiate wages reflecting their true value.


      Beyond wage gaps, noncompetes insidiously trap women and people of color

in work environments where they may be subject to harmful forms of discrimination.

By preventing employees from seeking competing employment, noncompetes force

employees to endure discriminatory treatment and diminish employer incentives for

undertaking reforms of discriminatory workplace culture.


      F.     Comparing the Experience of California to Massachusetts Shows
             the Benefits of the Ban.

      States are policy laboratories. In addition to the differences between

entrepreneurship in California and Washington described above, the different


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treatment of noncompetes in California and Massachusetts provides a multi-decade

natural experiment on the effect of noncompetes on entrepreneurship, competition,

and innovation that demonstrates the broad value of banning noncompetes. Mark

Lemley & Orly Lobel, Banning Noncompetes Is Good for Innovation, Harv. Bus.

Rev. (Feb. 6, 2023), https://perma.cc/93FH-6ABJ.

      Massachusetts has long enforced noncompetes; only in 2018, in the face of

mounting economic research about their harms, did it limit their use. Mass. Gen.

Laws Ann. ch. 149, § 24L(c) (2018) (making noncompete clauses unenforceable

against nonexempt workers). California, on the other hand, has always deemed

noncompetes void.

      Both states were well positioned in the early 1970s to become the global

center of high-tech innovation. But the use of noncompetes by high tech companies

in Massachusetts made it harder for talented employees to start their own ventures.

In contrast, the computer industry exploded in California, with inventor networks in

the Bay Area in particular becoming denser, and entrepreneurship and innovation

flourished. Meanwhile, the industry stagnated in Massachusetts around an older

generation of companies. See Orly Lobel, Why California Is Such a Talent Magnet,

Harv. Bus. Rev. (Jan. 19, 2016), https://perma.cc/U89T-2P78; AnnaLee Saxenian,

Regional Advantage: Culture and Competition in Silicon Valley and Route 128

(Harv. Univ. Press 2006); Ronald J. Gilson, The Legal Infrastructure of High


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Technology Industrial Districts: Silicon Valley, Route 128, and Covenants Not to

Compete, 74 N.Y.U. L. Rev. 575, 592 (1999) (“Route 128 gave rise to traditionally

vertically integrated companies; in this locality, knowledge transfer took place

within, rather than across firms.”).

      Thriving entrepreneurship resulted in vigorous competition and the best talent

worldwide was drawn by the freedom California offered. Carmen Nobel, Non-

competes Push Talent Away, Harv. Bus. Sch. Working Knowledge (July 11, 2011),

https://perma.cc/V2VV-J3F8. Companies were forced to compete for talent, because

a free labor market enabled the best talent to match with the best employers.

Massachusetts computer firms largely withered in a culture of secrecy and

protectionism made possible by noncompetes, while California firms thrived in a

culture of mobility, openness, and knowledge sharing. Orly Lobel, Talent Wants to

be Free: Why We Should Learn to Love Leaks, Raids, and Free Riding 64-70 (Yale

Univ. Press 2013) (“Talent Wants to be Free”).

      Although many factors contributed to the rise of Silicon Valley, “[i]n the end,

the difference in their treatments of post-employment covenants not to compete

remains the most likely difference in the legal infrastructures of Silicon Valley and

Route 128 that led the two districts down their ultimately quite different paths.”

Gilson, supra, at 613. This long natural experiment between states clearly

demonstrates the powerful benefits of noncompetes and the significant harms of


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restricting employee mobility. The results provide strong support for the broad and

prompt end to noncompetes that the Rule provides.

III.   A NATIONWIDE BAN IS ESSENTIAL TO ACHIEVE THESE
       BENEFITS.

       The Rule will provide much-needed uniformity through its nationwide

treatment of noncompetes. The current legal regime is a patchwork that incentivizes

strategic behavior by employers in drafting noncompetes. It is common for

employers to designate the law of a noncompete-friendly jurisdiction, regardless of

where the employee actually lives or works. This creates a high risk of litigation and,

in some cases, a race to the courthouse and even a race between different courts in

different states. See Advanced Bionics Corp. v. Medtronic, Inc., 59 P.3d 231 (Cal.

2002). Indeed, the inconsistent legal rules mean that, in the rare case where an

employee does seek legal counsel, the best advice often is for them to immediately

file suit to challenge their noncompetes in a favorable jurisdiction, because they

know companies are likely to file a competing suit in a different jurisdiction.

       The patchwork harms our national labor force and economy, decreasing

entrepreneurship, concentrating markets, stifling innovation, suppressing wages, and

exacerbating inequality. A uniform ban is needed to address these national harms.

The Rule’s ban on noncompetes will do just that; it will encourage economic growth,




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increase company formation and market entry, and promote increased innovation,

among other economic benefits.

IV.   THE RULE PROPERLY BANS “FUNCTIONAL”
      NONCOMPETES.

      The Rule properly recognizes that various contractual terms other than direct

noncompete requirements can act as “functional” noncompetes where they have the

effect of prohibiting, penalizing, or functioning to prevent employees from seeking

or accepting future employment. Non-Compete Clause Rule, 89 Fed. Reg. at 38363-

64. The Commission properly recognizes that in operating to restrict employee

mobility, these clauses engender the same harms as traditional non-compete

provisions. Experience has shown that employers switch to functionally equivalent

restraints when specific restrictions on labor mobility are banned. Jonathan Harris,

Dalié Jiménez, and Jonathan Glater, Comment Letter on Proposed Non-Compete

Clause Rule at 4-5, 8 (Apr. 19, 2023) (“Harris Comment”).

      TRAPs. For example, the Rule properly characterizes certain types of

Training-Repayment Agreement Provisions (“TRAPs”) as functional noncompetes

when they “function to prevent a worker from seeking or accepting other work or

starting a business after the employment associated with the TRAP,” Non-Compete

Clause Rule, 89 Fed. Reg. at 38366, such as when they burden employees with




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“significant out-of-pocket costs” for leaving their jobs and effectively prevent them

from switching jobs. Id. at 38365.

      In fact, the use of TRAPs has spread dramatically in recent years, with around

one in twelve workers bound by the contract provisions. J.J. Prescott, Stewart

Schwab, & Evan Starr, First Evidence on the Use of Training Repayment

Agreements    in   the   US    Labor    Force,    ProMarket    (Mar.    27,   2024),

https://perma.cc/U2H2-E6B6. Employers have most recently expanded TRAPs

among entry-level workers, including those in the transportation, cosmetology,

health care, retail, technology, and finance sectors. Jonathan F. Harris, Consumer

Law as Work Law, 112 Calif. L. Rev. 1, 12 (2024); Student Borrower Prot. Ctr.,

Trapped at Work: How Big Business Uses Student Debt to Restrict Worker Mobility

14 (July 2022), https://perma.cc/2A2T-8PG6.

      Many employers do not hide the fact that they use TRAPs primarily to keep

workers from leaving their jobs rather than to recover costs for providing useful

general skills training to workers. See Mitchell Hoffman & Stephen V. Burks,

Training Contracts, Employee Turnover, and the Returns from Firm-Sponsored

General Training 19-20 (Nat’l Bureau of Econ. Rsch., Working Paper No. 23247,

2017). In fact, some employers and trade groups have openly recommended TRAPs

as workarounds to traditional non-competes to accomplish the same goal of forced

employee retention, but through a mechanism that will face less scrutiny than a


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traditional non-compete. See, e.g., Philip J. Siegel, Protect Your Investment,

Professional Roofing (Nov. 2019), https://perma.cc/NA32-WGZY. In some cases,

TRAPs can be worse for workers than traditional noncompetes because “preventing

workers from working for a competitor may be less onerous to workers than

requiring them to pay the employer a substantial sum to quit.” Jonathan F. Harris,

Unconscionability in Contracting for Worker Training, 72 Ala. L. Rev. 723, 726

(2021).

       NDAs. Similarly, the Rule properly treats nondisclosure agreements

(“NDAs”) between employers and employees as functional noncompetes if they “are

so broadly written” and “span such a large scope of information” that they effectively

“function to prevent workers from seeking or accepting other work or starting a

business after they leave their job.” Non-Compete Clause Rule, 89 Fed. Reg. at

38365.4 Examples in the Rule of overbroad NDAs are those that prohibit the

employee from “disclosing, in a future job, any information that is ‘usable in’ or

‘relates to’ the industry in which they work,” or from “disclosing any information or

knowledge the worker may obtain during their employment whatsoever, including

publicly available information.” Id.




4
 The Rule distinguishes and excludes “appropriately tailored” NDAs that do not have the same
“functional effect.” Non-Compete Clause Rule, 89 Fed. Reg. at 38366.


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      Treating overbroad NDAs as functional noncompetes is essential. Such NDAs

are already a significant backdoor for unfair competition. See generally Camilla

Hrdy & Christopher Seaman, Beyond Trade Secrecy: Confidentiality Agreements

That Act Like Noncompetes, 133 Yale L. J. 669 (2024); Rachel Arnow-Richman et

al., Supporting Market Accountability, Workplace Equity, and Fair Competition by

Reining in Non-Disclosure Agreements, Fed'n of Am. Scientists: Day One Project

(Jan. 31, 2022). Research estimates that approximately 57% of U.S. workers are

subject to an NDA, Natarajan Balasubramanian, Evan Starr, & Shotaro Yamaguchi,

Employment Restrictions on Resource Transferability and Value Appropriation

from Employees 11 (May 16, 2024), https://perma.cc/XL3U-UDQ3, and the

prevalence is even higher in innovation-leading professions: 73% of workers in

“computer or mathematical jobs” report having an NDA with their employer.

Natarajan Balasubramanian, Evan Starr, & Shotaro Yamaguchi, Bundling

Postemployment Restrictive Covenants: When, Why, and How it Matters (Working

Paper, 2021).

      Overbroad NDAs that effectively prohibit departing workers from joining

competitors can restrain competition. They can limit workers’ ability to share and

apply knowledge gained through on-the-job experience and impede worker mobility,

economic growth, and new firm entry. This in turn diminishes workers’ human

capital and makes them less competitive in the labor market. See TLS Management


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& Marketing Services v. Rodriguez-Toledo, 966 F.3d 46 (1st Cir. 2020) (“overly

broad nondisclosure agreements, while not specifically prohibiting an employee

from entering into competition with the former employer, raise the same policy

concerns about restraining competition as noncompete clauses where . . . they have

the effect of preventing the defendant from competing with the plaintiff.”).

       Employers in states that ban noncompetes have illegally attempted to use

overbroad NDAs as an alternative mechanism to impede employee mobility. See,

e.g., Brown v. TGS Management Co., 57 Cal. App. 5th 303 (2021). California courts

have recognized that “overly restrictive [confidentiality] provisions operate as a de

facto noncompete provision.” Id. at 319.

       Non-solicitation, no-hire, no-business, and other agreements. The Rule

similarly treats other types of restrictive employment agreements as noncompetes

not only if they “expressly prohibit” an employee from or penalize the employee for

“seeking or accepting other work or starting a business,” but also if the noncompete

is not express but is nevertheless “so broad or onerous in scope that it functionally

has the same effect of preventing a worker from doing the same.” Non-Compete

Clause Rule, 89 Fed. Reg. at 38366. This functional approach that focuses on the

nature and effect of the restrictive agreement rather than its title or form is critical to

prevent employers from evading the ban on noncompetes and perpetuating the harm

they cause. See generally, Harris Comment, supra, at 2.


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      For example, nonsolicitation clauses (NSCs), which forbid soliciting

customers of a former employer, might as well be noncompetes for client-facing

positions like sales. Broad NSCs can also make it impossible to start new companies

“because a business without clients is like a pool without water.” Non-Competes,

Human Capital Policy & Regional Competition, supra, at 943.

      Employee nonsolicitation agreements, which prevent the recruitment of

former co-workers, can strip workers of their professional networks, particularly

when they are interpreted as prohibiting the hiring of any former coworkers that

approach after seeing a former employee advertise generally. Because it is

impossible to start a business without staff, employee non-solicitation clauses can

operate as functional noncompetes for any employee who wants to start their own

business.

      Non-dealing clauses, which forbid working with a former employer’s

customers at all, even if the customer seeks out the former employee on their own

accord, can make it almost impossible for an employee to move to or start a

competing business. This is particularly true today when more and more workers are

employed by companies with a national presence and are engaged in more business

sectors. In many cases such clauses can become functional noncompetes. To avoid

these harms, California has restricted such ancillary agreements.




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V.    THE RULE PROPERLY REJECTED INEFFECTIVE
      ALTERNATIVES.

      In adopting the Rule, the Commission properly considered and rejected

various alternative restrictions that would have failed to provide the same benefits

as a categorical ban on noncompetes. Non-Compete Clause Rule, 89 Fed. Reg. at

38457. First, the Commission correctly rejected proposals to make the enforceability

of noncompete provisions dependent on the reasonableness of the provision or the

balance of employer and employee interests. In doing so, the Commission

recognized that a categorical ban offers clarity, which prevents the chilling effect

and burden on employees that result from the ambiguity of a reasonableness

standard. Id. at 38458.

      In fact, a reasonableness standard would simply replicate the current law in

most states, which is easily and regularly abused by employers to prevent employees

from leaving. Applying a reasonableness standard requires identifying what

constitutes a proprietary employer interest and what alternatives exist, and ultimately

depends on the discretion of the individual judge. Arnow-Richman Comment, supra,

at 4. This creates substantial uncertainty about whether an agreement is enforceable

and the lawfulness of individual uses, and encourages employers to overreach in

writing and enforcing noncompetes. See Viva Moffat, Making Non-Competes

Unenforceable, 50 Ariz. L. Rev. 939 (2012); see also Talent Wants to be Free, supra,

at 53-57; Rachel Arnow-Richman, Bargaining for Loyalty in the Information Age:

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A Reconsideration of the Role of Substantive Fairness in Enforcing Employee

Noncompetes, 4 Or. L. Rev. 1163, 1242-43 (2001) (describing noncompetes as mere

“placeholders . . . for a judicially crafted remedy”).

      This fact-specific process can lead to expensive, time-consuming, and

burdensome litigation where the costs and risks burden employees asymmetrically.

Non-Compete Clause Rule, 89 Fed. Reg. at 38463; see also Arnow-Richman

Comment, supra, at 4. Employees often lack the time and money to file claims

invalidating agreements or defend against employers claiming unlawful breach.

Non-Compete Clause Rule, 89 Fed. Reg. at 38463; see also Arnow-Richman

Comment, supra, at 4. And often, while paying for litigation, employees are likely

deprived of their source of regular income. See Arnow-Richman Comment at 5.

      As a result, in states that allow noncompetes, many workers never challenge

even unreasonable noncompetes, chilling mobility even beyond what any given

state’s law contemplates. Arnow-Richman Comment, supra, at 6. Applying a

reasonableness standard would allow fact-specific inquiries to have the in terrorem

effect desired by employers. Most employees would be likely to think the

noncompetes are enforceable and thus feel forced to stay in their jobs. See Arnow-

Richman Comment, supra, at 5.

      Second, the Rule properly rejected alternatives proposing exemptions for

different categories of employees, allowing only existing agreements for high-level


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employees or those making a minimum salary. See Non-Compete Clause Rule, 89

Fed. Reg. at 38459. While these exemptions were offered as a way to protect

proprietary employer information, they mistakenly conflate criteria like pay and title

with access to proprietary information. See Arnow-Richman Comment, supra, at 6.

      Labor mobility is at least as critical for skilled as for unskilled workers.

Studies have shown that highly skilled and experienced employees are essential to

driving innovation and spurring economic development, as they are the most likely

to start new disruptive businesses or add value to existing employers. See id. at 6;

see also Liyan Shi, Optimal Regulation of Noncompete Contracts 3 (Working Paper,

2022), https://perma.cc/6799-A3WE. The mobility of highly skilled and experienced

employees is important to the policy goal of facilitating economic dynamism

through enhanced competition. See Arnow-Richman Comment, supra, at 6.

Exempting them would diminish the beneficial impact of the comprehensive

noncompete ban.

      The Commission was correct to reject future exemptions based on imperfect

proxies such as wage level and job title that would be difficult to enforce and raise

serious administrative challenges that would perpetuate the problems of the current

system. Id. Salary levels are largely dependent on industry, geographic location, and

the employees’ skillset and experience level, so nationwide salary threshold by the

FTC would be arbitrary and would also have to be adjusted frequently for inflation.


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VI.   THE RULE DOES NOT PREVENT EMPLOYERS FROM
      EFFECTIVELY PROTECTING CONFIDENTIAL
      INFORMATION.

      The Rule only affects noncompetes and their functional equivalents. It does

not prevent employers from using other legal restrictions on misappropriation of

confidential information, provided those requirements do not bar employees from

pursuing work elsewhere. Thus, under the Rule companies have a panoply of

options available for protecting sensitive trade information, even as employees

may depart to work for competitors.

      Specifically, trade secrecy law has been and will continue to be an effective

tool for preventing the disclosure of sensitive employer information. Under the

Defend Trade Secrets Act (DTSA), employers may bring civil claims against former

employees for trade-secret misappropriation. Defend Trade Secrets Act, 18 U.S.C.

§ 1836. The DTSA complements existing state trade secrecy laws, which balance

employers’ right to protect proprietary information with the public interest in the

flow of non-proprietary information. Thus, employers are provided adequate

remedies for violations without preventing employees from pursuing competitive

work in their fields. Non-Compete Clause Rule, 89 Fed. Reg. at 38424; see Arnow-

Richman Comment, supra, at 9.

      Under the Rule, employers will also remain free to use “appropriately

tailored” NDAs that do not “function to prevent a worker from seeking or accepting


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other work or starting a business.” Non-Compete Clause Rule, 89 Fed. Reg. at

38366. And returning to real-world examples, under California’s longstanding ban

on noncompetes, companies have remained able to fully protect confidential

information and business secrets and competition and innovation have flourished.

See generally, Mark Lemley & Orly Lobel, Supporting Talent Mobility and

Enhancing Human Capital: Banning Noncompete Agreements to Create

Competitive Job Markets, Day One Project (Jan. 2021).

                                  CONCLUSION

      For the above reasons, amici urge the Court to deny the pending motions to

delay the effective date of the Rule and for a preliminary injunction.




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Dated: June 3, 2024
                                  Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing Law Professors’ Brief Amici Curiae in

Support of the Federal Trade Commission’s Opposition to Plaintiff’s and

Intervenors’ Motions for a Preliminary Injunction complies with Judge Brown’s

Standing Order Motion Practice Procedures II.A because:

      1.     It contains 5263 words, including footnotes but excluding the case

caption, the table of contents, the table of authorities, the signature block, and the

certificates, as determined by the word count feature of Microsoft Word, and

      2.     It has been prepared in a proportionally spaced typeface using

Microsoft Office Word with text in 14-point Times New Roman font and footnotes

in 11-point Times New Roman font.

      DATED: June 3, 2024

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